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 6     Attorneys for Defendant
       TRICOPIAN, INC. dba FUEL ROD
 7

 8                                UNITED STATES DISTRICT COURT
 9                             NORTHERN DISTRICT OF CALIFORNIA
10

11
      CANDELALIRA JELINKSI, individually                Case No. 3:24-cv-00300-TSH
12
      and on behalf of all others similarly
      situated,                                         STIPULATION TO EXTEND TIME TO
13                                                      RESPOND TO CLASS ACTION
                                         Plaintiffs,    COMPLAINT (L.R. 6-1(A))
14
             v.                                         Complaint Filed: January 18, 2024
15

16    TRICOPIAN, INC. DBA FUEL ROD,

17                                     Defendant.

18
                                                  STIPULATION
19
            Pursuant to Northern District of California Civil Local Rule 6-1(a), this Stipulation is
20
     entered into by and between Plaintiff, CANDELALIRA JELINKSI (“Plaintiff”) and Defendant,
21
     TRICOPIAN, INC. (“Defendant”) with reference to the following facts:
22
            WHEREAS, Plaintiff commenced the above captioned case in the United States District
23
     Court, Northern District of California, on January 18, 2024.
24
            WHEREAS, Defendant’s response to the Complaint is currently due February 12, 2024;
25
            WHEREAS, The Parties are meeting and conferring regarding Plaintiff’s Complaint and
26
     the Parties agree Defendant may have an extension of thirty days (30) days to file a response to
27
     the Complaint, up to and including March 13, 2024;
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                                               1                CASE NO.: 3:24-CV-00300-TSH
             STIPULATION TO EXTEND TIME TO RESPOND TO INITIAL COMPLAINT (L.R. 6-1(A))
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 1            WHEREAS, Defendant has not made a prior request for an extension of time to respond

 2   in this action.

 3            WHEREAS, the stipulated extension does not affect the initial case management

 4   conference or any other existing date or deadline.

 5            IT IS SO STIPULATED between Plaintiff and Defendant, by and through their

 6   undersigned attorneys, that:

 7            1.       The time for Defendant to respond to Plaintiff’s Class Action Complaint is

 8                     extended thirty days (30) days, up to and including March 13, 2024.

 9
     Dated:     February 6, 2024                    NYE, STIRLING, HALE, MILLER & SWEET, LLP
10

11
                                                    By:      /s/ Benjamin J. Sweet
12                                                               Benjamin J. Sweet
13                                                   Attorneys for Plaintiff CANDELALIRA JELINKSI
14

15   Dated:     February 6, 2024                    CLARK HILL LLP
16

17
                                                    By:      /s/ Michael K. Tcheng
18                                                               Michael K. Tcheng
                                                                 Timothy M. Flaherty
19
                                                    Attorneys for Defendant TRICOPIAN, INC.
20                                                  DBA FUEL ROD
21

22            I hereby attest that I have obtained concurrence in the filing of this document from Mr.
     Sweet.
23
        _/s/ Michael K. Tcheng
24
             Michael K. Tcheng
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                                                 2                CASE NO.: 3:24-CV-00300-TSH
               STIPULATION TO EXTEND TIME TO RESPOND TO INITIAL COMPLAINT (L.R. 6-1(A))
       Case 3:24-cv-00300-TSH Document 7 Filed 02/13/24 Page 3 of 3



 1                                CERTIFICATE OF SERVICE
 2
           I hereby certify that on this 13th day of February, 2024, I will electronically
 3
     file the foregoing with the Clerk of the Court using CM/ECF system, which will
 4
     then be sent Electronically to the registered participants as identified on the Notice
 5
     of Electronic Filing (NEF) and electronic copies will be sent by electronic mail to
 6
     any counsel of record as non-registered participants.
 7

 8

 9                                   _________________________________________
                                       /s/ LYDIA M. BROWN
                                      LYDIA M. BROWN
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                                                1               CASE NO.: 3:24-CV-00300-TSH
